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                                                                                   APPEAL,EFILE

                                   U.S. District Court
                         District of Connecticut (New Haven)
                  CIVIL DOCKET FOR CASE #: 3:19-cv-01966-KAD


Khan v. Yale University et al                              Date Filed: 12/13/2019
Assigned to: Judge Kari A. Dooley                          Jury Demand: Plaintiff
Demand: $110,000,000                                       Nature of Suit: 448 Civil Rights:
Cause: 42:1981 Civil Rights                                Education
                                                           Jurisdiction: Federal Question
Plaintiff
Saifullah Khan                              represented by Kevin Murray Smith
                                                           Pattis & Smith, LLC
                                                           383 Orange Street, First Floor
                                                           New Haven, CT 06511
                                                           203-393-3017
                                                           Fax: 203-393-9745
                                                           Email: ksmith@pattisandsmith.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Norman A. Pattis
                                                           The Pattis Law Firm, LLC
                                                           383 Orange St., First Floor
                                                           New Haven, CT 06511
                                                           203-393-3017
                                                           Fax: 203-393-9745
                                                           Email: npattis@pattisandsmith.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Yale University                             represented by Patrick M. Noonan
                                                           Donahue, Durham & Noonan
                                                           Concept Park
                                                           741 Boston Post Road
                                                           Guilford, CT 06437
                                                           203-458-9168
                                                           Fax: 203-458-4424
                                                           Email: pnoonan@ddnctlaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED




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Defendant
Peter Salovey                               represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Jonathon Halloway                           represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Marvin Chun                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Joe Gordon                                  represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
David Post                                  represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Mark Solomon                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Ann Kuhlman                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Lynn Cooley                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED




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Defendant
Paul Genecin                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Stephanie Spangler                          represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Sarah Demers                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Jane Doe                                    represented by Brendan Gooley
TERMINATED: 01/07/2021                                     Carlton Fields
                                                           One State Street
                                                           Ste 1800
                                                           Hartford, CT 06103
                                                           860-392-5036
                                                           Email: bgooley@carltonfields.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           James M. Sconzo
                                                           Carlton Fields, P.C.
                                                           One State Street
                                                           Suite 1800
                                                           Hartford, CT 06103
                                                           860-392-5022
                                                           Fax: 860-392-5058
                                                           Email: jsconzo@carltonfields.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Carole Goldberg                             represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Unknown Persons




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 Date Filed         #       Docket Text
 01/14/2021             43 NOTICE OF APPEAL as to 40 Order on Motion to Dismiss by Saifullah
                           Khan. Filing fee $ 505, receipt number ACTDC-6328789. (Pattis, Norman)
                           (Entered: 01/14/2021)
 01/07/2021             42 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                           COUNSEL/THE PARTIES WILL RECEIVE.
                           Telephonic Scheduling Conference set for 1/21/2021 at 10:00 AM before
                           Judge Kari A. Dooley. Conference Line: (888) 278-0296; Access Code:
                           80-77-899. (Cahill, Leslie) (Entered: 01/07/2021)
 01/07/2021             41 ORDER. The parties shall appear for a telephonic scheduling conference to
                           address their joint 39 motion to modify the Scheduling Order on 1/21/2021
                           at 10:00 A.M.
                           Signed by Judge Kari A. Dooley on 1/7/2021. (Cahill, Leslie) (Entered:
                           01/07/2021)
 01/07/2021             40 ORDER granting 26 Motion to Dismiss, for the reasons stated in the
                           attached Memorandum of Decision. Signed by Judge Kari A. Dooley on
                           1/7/2021. (Cahill, Leslie) (Entered: 01/07/2021)
 12/23/2020             39 Joint MOTION for Extension of Time -- Modification of the Scheduling
                           Order by Jane Doe. (Sconzo, James) (Entered: 12/23/2020)
 10/08/2020             38 ORDER granting on consent 37 Motion for Extension of Time. Signed by
                           Judge Kari A. Dooley on 10/8/2020. (Cahill, Leslie) (Entered: 10/08/2020)
 10/07/2020             37 MOTION for Extension of Time until 11/06/20 Discovery by Marvin
                           Chun, Lynn Cooley, Sarah Demers, Jane Doe, Paul Genecin, Carole
                           Goldberg, Joe Gordon, Jonathon Halloway, Ann Kuhlman, David Post,
                           Peter Salovey, Mark Solomon, Stephanie Spangler, Unknown Persons,
                           Yale University. (Noonan, Patrick) (Entered: 10/07/2020)
 06/30/2020             36 REPLY to Response to 26 MOTION to Dismiss filed by Jane Doe.
                           (Sconzo, James) (Entered: 06/30/2020)
 06/22/2020             35 ORDER granting 34 Motion for Extension of Time. Defendant's reply brief
                           is due on or before June 30, 2020. Signed by Judge Kari A. Dooley on
                           6/22/2020. (Cahill, Leslie) (Entered: 06/22/2020)
 06/22/2020             34 MOTION for Extension of Time until June 30, 2020 to file a Reply
                           Memorandum of Law in Further Support of Motion to Dismiss by Jane
                           Doe. (Gooley, Brendan) (Entered: 06/22/2020)
 06/12/2020             33 ORDER granting 32 Motion for Extension of Time. Defendant's reply brief
                           is due on or before June 23, 2020. Signed by Judge Kari A. Dooley on
                           6/12/2020. (Cahill, Leslie) (Entered: 06/12/2020)
 06/11/2020             32 MOTION for Extension of Time until June 23, 2020 to file a Reply
                           Memorandum of Law in Further Support of Motion to Dismiss by Jane
                           Doe. (Gooley, Brendan) (Entered: 06/11/2020)




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 06/02/2020          31 Memorandum in Opposition To Jane Doe's re 26 MOTION to Dismiss
                        filed by Saifullah Khan. (Pattis, Norman) (Entered: 06/02/2020)
 05/12/2020          30 Reset Deadline as to 26 MOTION to Dismiss . Response due by 6/2/2020.
                        (Gould, K.) (Entered: 05/13/2020)
 05/12/2020          29 ORDER granting 28 Motion for Extension of Time to File
                        Response/Reply. Plaintiff's response is due on or before 6/2/2020. Signed
                        by Judge Kari A. Dooley on 5/12/2020. (Cahill, Leslie) (Entered:
                        05/12/2020)
 05/12/2020          28 First MOTION for Extension of Time to File Response/Reply Unopposed
                        as to 26 MOTION to Dismiss until June 2, 2020 by Saifullah Khan. (Pattis,
                        Norman) (Entered: 05/12/2020)
 04/28/2020          27 Memorandum in Support re 26 MOTION to Dismiss filed by Jane Doe.
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                        5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Affidavit Declaration of
                        Brendan Gooley)(Sconzo, James) (Entered: 04/28/2020)
 04/28/2020          26 MOTION to Dismiss by Jane Doe.Responses due by 5/19/2020 (Sconzo,
                        James) (Entered: 04/28/2020)
 04/24/2020          25 ANSWER to 1 Complaint by Marvin Chun, Lynn Cooley, Sarah Demers,
                        Paul Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway, Ann
                        Kuhlman, David Post, Peter Salovey, Mark Solomon, Stephanie Spangler,
                        Yale University.(Noonan, Patrick) (Entered: 04/24/2020)
 04/06/2020               Reset Answer Deadlines for all Defendants: Responsive Pleading due
                          4/28/2020 (Cahill, Leslie) (Entered: 04/06/2020)
 04/06/2020          24 ORDER granting 23 Motion for Extension of Time. Signed by Judge Kari
                        A. Dooley on 4/6/2020. (Cahill, Leslie) (Entered: 04/06/2020)
 04/03/2020          23 Second MOTION for Extension of Time until April 28, 2020 to Respond
                        to Plaintiff's Complaint by Jane Doe. (Gooley, Brendan) (Entered:
                        04/03/2020)
 03/18/2020               Reset Answer Deadlines for all Defendants: Responsive Pleading due
                          4/7/2020 (Cahill, Leslie) (Entered: 03/18/2020)
 03/18/2020          22 ORDER granting 21 Motion for Extension of Time. Signed by Judge Kari
                        A. Dooley on 3/18/2020. (Cahill, Leslie) (Entered: 03/18/2020)
 03/18/2020          21 Consent MOTION for Extension of Time until April 7, 2020 to Respond to
                        Plaintiff's Complaint by Jane Doe. (Gooley, Brendan) (Entered:
                        03/18/2020)
 03/04/2020          20 NOTICE of Appearance by Kevin Murray Smith on behalf of Saifullah
                        Khan (Smith, Kevin) (Entered: 03/04/2020)
 02/05/2020          19 STANDING ORDER ON JOINT TRIAL MEMORANDUM attached.
                        Signed by Judge Kari A. Dooley on 2/5/2020. (Cahill, Leslie) (Entered:
                        02/05/2020)




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 02/05/2020          18 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                        COUNSEL/THE PARTIES WILL RECEIVE.
                        Telephonic Status Conference set for 3/5/2021 at 10:00 AM before Judge
                        Kari A. Dooley. Conference Line: (888) 278-0296; Access Code: 80-77-
                        899. (Cahill, Leslie) (Entered: 02/05/2020)
 02/05/2020               Set Deadlines/Hearings:
                          Motion to Amend Pleadings due by 2/24/2020.
                          Discovery due by 2/26/2021.
                          Dispositive Motions due by 3/30/2021.
                          Telephonic Status Conference set for 3/5/2021 at 10:00 AM before Judge
                          Kari A. Dooley.
                          Answer Deadlines Updated for All Defendants. Responsive pleading due
                          3/24/2020. (Cahill, Leslie) (Entered: 02/05/2020)
 02/05/2020          17 Order on Pretrial Deadlines. The Court has reviewed the Parties' 16 Rule
                        26(f) Report. It is Approved, Adopted, and So Ordered, except that the
                        Parties' Joint Trial Memorandum shall be filed in accordance with the
                        deadlines and procedures set forth below.

                          Pursuant to Local Rule 16(b), the Court orders as follows: The Plaintiff
                          shall move to amend the pleadings or move to join additional parties by
                          February 24, 2020. The Defendants shall move to join additional parties
                          by February 24, 2020 and shall respond to the complaint by March 24,
                          2020. Discovery shall be completed by February 26, 2021. Dispositive
                          motions, if any (see Local Rule 56(c)), shall be filed by March 30, 2021.
                          The Joint Trial Memorandum shall comport with this Court's standing
                          order, which will be separately docketed. The date for filing the Joint Trial
                          Memorandum required by this Court's standing order shall be set by the
                          Court after the close of discovery.

                          A telephonic status conference is scheduled for March 5, 2021 at 10:00
                          A.M.

                          Signed by Judge Kari A. Dooley on 2/5/2020. (Cahill, Leslie) (Entered:
                          02/05/2020)
 02/03/2020          16 REPORT of Rule 26(f) Planning Meeting. (Noonan, Patrick) (Entered:
                        02/03/2020)
 01/24/2020          15 NOTICE of Appearance by Brendan Gooley on behalf of Jane Doe
                        (Gooley, Brendan) (Entered: 01/24/2020)
 01/24/2020          14 NOTICE of Appearance by James M. Sconzo on behalf of Jane Doe
                        (Sconzo, James) (Entered: 01/24/2020)
 01/24/2020          13 WAIVER OF SERVICE Returned Executed as to Jane Doe waiver sent on
                        1/9/2020, answer due 3/9/2020 filed by Saifullah Khan. (Pattis, Norman)
                        (Entered: 01/24/2020)
 01/10/2020          12 ORDER granting 7 Motion for Permission to Litigate Claims Against Jane
                        Doe Using a Pseudonym in Place of Her Actual Name without prejudice.




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                          Based upon consideration of the inherently sensitive and personal nature of
                          the issues raised in this litigation, the parties' acknowledgment of the
                          Defendant Yale University's applicable policies concerning confidentiality,
                          the risk of harm and the absence of prejudice to the litigants, the lack of an
                          alternative procedure for maintaining Jane Doe's confidentiality, and other
                          relevant factors, see Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185,
                          189-90 (2d Cir. 2008), the Court grants the motion to proceed by way of a
                          pseudonym. The motion is granted without prejudice insofar as Jane Doe
                          has not yet appeared in this action. Signed by Judge Kari A. Dooley on
                          1/10/2020. (Cahill, Leslie) (Entered: 01/10/2020)
 01/08/2020          11 ORDER OF TRANSFER. Case reassigned to Judge Kari A. Dooley for all
                        further proceedings.
                        Signed by Judge Alfred V. Covello on 1/8/2020.(Bozek, M.) (Entered:
                        01/09/2020)
 01/03/2020          10 NOTICE of Appearance by Patrick M. Noonan on behalf of Marvin Chun,
                        Lynn Cooley, Sarah Demers, Paul Genecin, Carole Goldberg, Joe Gordon,
                        Jonathon Halloway, Ann Kuhlman, David Post, Peter Salovey, Mark
                        Solomon, Stephanie Spangler, Yale University (Noonan, Patrick) (Entered:
                        01/03/2020)
 01/02/2020           9 Memorandum in Support re 2 MOTION for Pemission to Litigate Against
                        Jane Doe using a Pseudonym in Place of her Actual Name , 7 MOTION to
                        Proceed in Fictitious Name filed by Marvin Chun, Lynn Cooley, Sarah
                        Demers, Paul Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway,
                        Ann Kuhlman, David Post, Peter Salovey, Mark Solomon, Stephanie
                        Spangler, Yale University. (Noonan, Patrick) (Entered: 01/02/2020)
 12/18/2019           8 WAIVER OF SERVICE Returned Executed as to Paul Genecin waiver
                        sent on 12/18/2019, answer due 2/16/2020; David Post waiver sent on
                        12/18/2019, answer due 2/16/2020; Yale University waiver sent on
                        12/18/2019, answer due 2/16/2020; Sarah Demers waiver sent on
                        12/18/2019, answer due 2/16/2020; Joe Gordon waiver sent on 12/18/2019,
                        answer due 2/16/2020; Peter Salovey waiver sent on 12/18/2019, answer
                        due 2/16/2020; Ann Kuhlman waiver sent on 12/18/2019, answer due
                        2/16/2020; Stephanie Spangler waiver sent on 12/18/2019, answer due
                        2/16/2020; Carole Goldberg waiver sent on 12/18/2019, answer due
                        2/16/2020; Mark Solomon waiver sent on 12/18/2019, answer due
                        2/16/2020; Jonathon Halloway waiver sent on 12/18/2019, answer due
                        2/16/2020; Lynn Cooley waiver sent on 12/18/2019, answer due
                        2/16/2020; Marvin Chun waiver sent on 12/18/2019, answer due 2/16/2020
                        filed by Saifullah Khan. (Pattis, Norman) (Entered: 12/18/2019)
 12/16/2019           7 MOTION for Permission to Litigate Claims Against Jane Doe using a
                        Pseudonym in Place of her Actual Name - EXHIBIT by Saifullah Khan re
                        2 MOTION for Pemission to Litigate Against Jane Doe using a
                        Pseudonym in Place of her Actual Name . (Attachments: # 1 Exhibit, # 2
                        Exhibit, # 3 Exhibit)(Pattis, Norman) Modified on 12/18/2019 to change to
                        motion event/relief (Bozek, M.). (Entered: 12/16/2019)
 12/16/2019           6



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                          ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4
                          and LR 4 as to *Marvin Chun, Lynn Cooley, Sarah Demers, Jane Doe,
                          Paul Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway, Ann
                          Kuhlman, David Post, Peter Salovey, Mark Solomon, Stephanie Spangler,
                          Unknown Persons, Yale University* with answer to complaint due within
                          *21* days. Attorney *Norman A. Pattis* *The Pattis Law Firm, LLC*
                          *383 Orange St., First Floor* *New Haven, CT 06511*. (Bozek, M.)
                          (Entered: 12/16/2019)
 12/16/2019           5 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or
                        self-represented parties initiating or removing this action are responsible
                        for serving all parties with attached documents and copies of 2 MOTION
                        for Pemission to Litigate Against Jane Doe using a Pseudonym in Place of
                        her Actual Name filed by Saifullah Khan, 1 Complaint filed by Saifullah
                        Khan, 4 Electronic Filing Order, and 3 Order on Pretrial Deadlines.
                        Signed by Clerk on 12/16/2019.(Bozek, M.) (Entered: 12/16/2019)
 12/13/2019           4 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE
                        COMPLIANCE WITH COURTESY COPY REQUIREMENTS IN THIS
                        ORDER.
                        Signed by Judge Alfred V. Covello on 12/13/2019.(Bozek, M.) (Entered:
                        12/16/2019)
 12/13/2019           3 Order on Pretrial Deadlines: Amended Pleadings due by 2/11/2020.
                        Discovery due by 6/13/2020. Dispositive Motions due by 7/18/2020.
                        Signed by Clerk on 12/13/2019.(Bozek, M.) (Entered: 12/16/2019)
 12/13/2019           2 MOTION for Pemission to Litigate Against Jane Doe using a Pseudonym
                        in Place of her Actual Name by Saifullah Khan.Responses due by 1/3/2020
                        (Pattis, Norman) Modified on 1/13/2020 (Gould, K.). (Entered:
                        12/13/2019)
 12/13/2019               Judge Alfred V. Covello added. (Walker, J.) (Entered: 12/13/2019)
 12/13/2019               Request for Clerk to issue summons as to All Defendants. (Pattis, Norman)
                          (Entered: 12/13/2019)
 12/13/2019           1 COMPLAINT against All Defendants ( Filing fee $400 receipt number
                        ACTDC-5590669.), filed by Saifullah Khan.(Pattis, Norman) (Entered:
                        12/13/2019)




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